     Case 2:16-cv-02089-JAR-GLR Document 13 Filed 06/02/16 Page 1 of 6




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

GRACE LEE,                                     )
                                               )
                       Plaintiff,              )
                                               )
v.                                             )       Case No. 16-cv-02089-JAR
                                               )
HEATHER REED                                   )
in her official and individual capacities,     )
DR. PAT BOSCO                                  )
in his official and individual capacities,     )
JOHN DOE I-X                                   )
in their official and individual capacities,   )
KANSAS STATE UNIVERSITY,                       )
                                               )
                      Defendants.              )
                                               )



      PLAINTIFF’S MOTION TO EXTEND THE TIME FOR SERVING THE
       SUMMONS AND COMPLAINT ON DEFENDANTS JOHN DOES I-X


     1.   “John Does I-X” are pseudonyms for the presently unknown officials, staff or

employees of the Kansas State University who may have, filed a May 2, 2012 incident

report against Plaintiff Lee.

     2. The defendant Heather Reed stated that “On May 2, 2012, there was an incident

in which Grace Lee was reported to be yelling and disruptive in the Graduate School

office” (Doc 1, Exhibit 12, ¶ 7)

     3. Further, Heather Reed stated that a CIRT (Critical Incident Response Team)

meeting was conducted on May 4, 2012 to discuss the May 2, 2012 incident. (Doc 1,

Exhibit 12, ¶ 8)

     4. Plaintiff has never been communicated by any official, police officer, or faculty

member about the alleged May 2, 2012 incident, or the report of the incident that Ms.


                                                   1
   Case 2:16-cv-02089-JAR-GLR Document 13 Filed 06/02/16 Page 2 of 6




Reed claims that she had received, or any of Plaintiff’s alleged misconduct. (Doc 1, ¶

29)

      5. Plaintiff did not visit the KSU Graduate School on May 2, 2012 (Doc 1, ¶ 30).

      6. Plaintiff has never yelled, screamed or been disruptive on KSU campus or in

any KSU Graduate School office at any time. (Doc 1, ¶ 31)

      7. Plaintiff Lee has neither been provided with the May 2, 2012 incident report

that Ms. Reed claimed she received, nor been informed of the name of the person who

filed the disciplinary report against her. (Doc 1, ¶ 32 - ¶46)

      8. Plaintiff has diligently sought to obtain the information necessary to identify the

Doe Defendants so that service may be effected.

      9. The identity of Doe defendants is known to the defendant Heather Reed, the

attendants of the May 4, 2012 CIRT meeting, and the officials and staff at the KSU

Graduate School.

      10. Plaintiff wrote Ms. Heather Reed on March 24, 2015 asking her to provide the

report of the May 2, 2012 incident that she claims she received, and tell Plaintiff the

name of the person who filed the report against Plaintiff. (Doc.1, Exhibit 13).

      11. Plaintiff’s request was ignored by Ms. Heather Reed. (Doc 1, ¶ 33)

      12. On April 17, 2016, Plaintiff Lee wrote the officials and staff at the KSU

Graduate School, including the Graduate School Dean Dr. Carol Shanklin, to seek the

information about the alleged May 2, 2012 incident at the Graduate School,

and the identity of the anonymous defendants who may have filed the May 2, 2012

incident report against Plaintiff.   (Declaration of Plaintiff Grace Lee (“Lee Decl.”), ¶

2, Exhibit A)


                                               2
   Case 2:16-cv-02089-JAR-GLR Document 13 Filed 06/02/16 Page 3 of 6




      13. So far, Plaintiff Lee has yet received any response from the Graduate School at

Kansas State University regarding her requests. (Lee Decl., ¶ 3)

      14. On April 17, 2016, Plaintiff Lee wrote Dori Lambert, who attended the CIRT

meeting      on   May     4,    2012      (Doc    1,       Exhibit    17),    to    seek the identity

of the anonymous defendants who may have filed the May 2, 2012 incident report

against Plaintiff. (Lee Decl., ¶ 4 , Exhibit B)

      15. Plaintiff Lee has yet received any response from Dori Lambert. (Lee Decl., ¶ 5)

      16. On April 17, 2016, Plaintiff Lee wrote Gary Leitnaker, who attended the CIRT

meeting      on    May     4,   2012       (Doc       1,    Exhibit    17),    to    seek the identity

of the anonymous defendants who may have filed the May 2, 2012 incident report against

Plaintiff. (Lee Decl., ¶ 6 , Exhibit C)

      17. Plaintiff Lee has yet received any response from Gary Leitnaker. (Id., ¶ 7)

      18. On April 17, 2016, Plaintiff Lee wrote Karen Low, who attended the CIRT

meeting      on    May     4,   2012       (Doc       1,    Exhibit    17),    to    seek the identity

of the anonymous defendants who may have filed the May 2, 2012 incident report against

Plaintiff. (Lee Decl., ¶ 8 , Exhibit D)

      19. Plaintiff Lee has yet received any response from Karen Low. (Lee Decl., ¶ 9)

      20. On April 17, 2016, Plaintiff Lee wrote Duane Crawford, who attended the CIRT

meeting      on    May     4,   2012       (Doc       1,    Exhibit    17),    to    seek the identity

of the anonymous defendants who may have filed the May 2, 2012 incident report against

Plaintiff. (Lee Decl., ¶ 10 , Exhibit E)

      21. Plaintiff Lee has yet received any response from Duane Crawford. (Lee Decl., ¶

11)


                                                  3
   Case 2:16-cv-02089-JAR-GLR Document 13 Filed 06/02/16 Page 4 of 6




      22. On April 26, 2016, Plaintiff Lee wrote James Neill, who attended the CIRT

meeting      on    May    4,   2012        (Doc       1,   Exhibit   17),   to   seek the identity

of the anonymous defendants who may have filed the May 2, 2012 incident report against

Plaintiff. (Lee Decl., ¶ 12 , Exhibit F)

      23. Plaintiff Lee has yet received any response from James Neill. (Lee Decl., ¶ 13)

      24. On April 26, 2016, Plaintiff Lee wrote James Guiekma, who attended the CIRT

meeting      on    May    4,   2012        (Doc       1,   Exhibit   17),   to   seek the identity

of the anonymous defendants who may have filed the May 2, 2012 incident report against

Plaintiff. (Lee Decl., ¶ 14 , Exhibit G)

      25. Plaintiff Lee has yet received any response from James Guikema. (Lee Decl., ¶

15)

      26. Plaintiff Lee is waiting for the response from the named defendants, the

attendants of the May 4, 2012 CIRT meetings, and the KSU graduate school, regarding

the identity of the Doe defendants.

      27. Plaintiff Lee respectfully requests that this Court to extend the time for serving

“John Does I-X” with a copy of the Summons and the Complaint to July 31st, 2016.




WHEREFORE, Plaintiff Lee prays that her Motion to Extend the Time for Serving the

Summons and Complaint on John Does I-X be granted.




                                                  4
Case 2:16-cv-02089-JAR-GLR Document 13 Filed 06/02/16 Page 5 of 6
   Case 2:16-cv-02089-JAR-GLR Document 13 Filed 06/02/16 Page 6 of 6




                                CERTIFICATE OF SERVICE



       I hereby certify that on this 2nd day of June, 2016, I electronically filed the foregoing

PLAINTIFF’S MOTION TO EXTEND THE TIME FOR SERVING THE SUMMONS AND

COMPLAINT ON DEFENDANTS JOHN DOES I-X with the Clerk of the Court using the

CM/ECF system which will send notification of such filing to all counsel of record in this matter.




                                                          By: /s/ Grace Lee
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